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Attorneys for Defendant Amazon.com Services, LLC

                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

KERIDA SCOTT,                                          :
                                                       :
                  Plaintiff,                           :
                                                       :
                       v.                              :
                                                           CIVIL ACTION
                                                       :
                                                           NO.
AMAZON.COM SERVICES, LLC and JOHN                      :
DOES 1-5 AND 6-10,                                     :
                                                       :
                  Defendants.                          :
                                                       :

                                          NOTICE OF REMOVAL

                  Defendant Amazon.com Services, LLC (“Amazon”), by and through its

undersigned counsel, hereby removes this action from the Superior Court of New Jersey, Law

Division, Mercer County, to the United States District Court, District of New Jersey, pursuant to

28 U.S.C. §§ 1332, 1441 and 1446, et seq. based on the following grounds.

                                               BACKGROUND

                  1.        On July 14, 2021, Plaintiff Kerida Scott filed a Complaint against Amazon

in the Superior Court of New Jersey, Law Division, Mercer County, Docket No. MER-L-

001462-21 (the “State Court Action”).

                  2.        Amazon has not yet answered, moved, or otherwise responded to the

Complaint in the State Court Action.



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               3.      Attached hereto as Exhibit A are true and correct copies of the Case

Information Statement, Complaint, and Track Designation Notice. These documents constitute

all the process, pleadings, and orders filed in the State Court Action to date.

                                 TIMELINESS OF REMOVAL

               4.      Amazon was served with the Complaint on July 23, 2021.

               5.      The removal of this action is timely because it was accomplished within

30 days of the date on which Plaintiff served Amazon with a copy of the Complaint. 28 U.S.C.

§ 1446(b).

                         JURISDICTIONAL BASIS FOR REMOVAL

               6.      This Court has original subject matter jurisdiction over this action under

28 U.S.C. § 1332(a) because there is complete diversity of citizenship between all properly

joined parties and the amount in controversy exceeds $75,000, exclusive of interest and costs.

This case is, therefore, removable under 28 U.S.C. § 1441(a).

                                     Diversity of Citizenship

               7.      In her Complaint, Plaintiff admits that she is and was a resident of the

Commonwealth of Pennsylvania at all relevant times, and thus a citizen of the Commonwealth of

Pennsylvania for the purposes of determining diversity jurisdiction. See Exhibit A, Complaint at

⁋ 1.

               8.      Amazon.com Services, Inc. is a citizen of Delaware and Washington

because it is incorporated in Delaware and has a principal place of business in Washington.

               9.      Under 28 U.S.C. §1332(c)(1), a corporation is “a citizen of every State and

foreign state by which it has been incorporated and of the State or foreign state where it has its

principal place of business.” 28 U.S.C. § 1332(c)(1).




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               10.     Amazon.com Services LLC is a citizen of Delaware and Washington

because it is a limited liability company whose parent and only member, Amazon.com Services,

Inc., is incorporated in Delaware and has its principal place of business in Washington. See

Zambelli Fireworks Mfg. Co. v. Wood, 592 F.3d 412, 420 (3d Cir. 2010) (for the purposes of

diversity jurisdiction under 28 U.S.C. § 1332(a), “the citizenship of an LLC is determined by the

citizenship of its members.”); GBForefront, L.P. v. Forefront Mgmt. Grp., LLC, 888 F.3d 29, 34

(3d Cir. 2018) (“The citizenship of a corporation is both its state of incorporation and the state of

its principal place of business…. [A] limited liability company is a citizen of all the states of its

members.”).

               11.      Accordingly, complete diversity of citizenship exists between Plaintiff

and the Defendant.

                                      Amount in Controversy

               12.     In her Complaint, Plaintiff seeks compensatory damages, including

emotional distress and personal hardship, punitive damages, interest, cost of suit, attorneys’ fees,

enhanced attorneys’ fees, equitable back pay, equitable front pay, equitable reinstatement or

promotion, and any other relief the Court deems equitable and just. See Exhibit A, Complaint at

the unnumbered WHEREFORE clauses following Counts I-V.

               13.     While Plaintiff does not quantify the damages she seeks to recover, she

cannot show to a legal certainty that her alleged damages amount to less than $75,000. See

Frederico v. Home Depot, 507 F.3d 188, 197 (3d Cir. 2007) (holding where a plaintiff has not

specifically averred in the complaint that the amount in controversy is less than the jurisdictional

minimum, the case is to be remanded only if “it appears to a legal certainty that the plaintiff

cannot recover the jurisdictional amount”).




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                14.    Based on the allegations of the Complaint, the amount in controversy in

this action, exclusive of interest and costs, exceeds the sum of seventy-five thousand dollars

($75,000.00).

                15.    Accordingly, Defendant is entitled to remove this action to this Court

under 28 U.S.C. § 1441 as this Court has original jurisdiction pursuant to 28 U.S.C. § 1332.

                                              VENUE

                16.    Under 28 U.S.C. § 1441(a), the United States District Court for the

District of New Jersey is the proper venue for removal jurisdiction because it embraces the place

where this action is pending and a substantial part of the alleged events giving rise to Plaintiff’s

claims are alleged to have occurred in this judicial district. See generally Complaint, Exhibit A.

                                  MISCELLANEOUS ISSUES

                17.    Written notice of the filing of this Notice of Removal is being forwarded

to Plaintiff’s counsel as well as to the Clerk of the Court for the Superior Court of New Jersey,

Law Division, Mercer County, pursuant to 28 U.S.C. § 1446(d). A copy of the Notice of Filing

(without exhibits) is attached hereto as Exhibit B.

                18.    By filing this Notice of Removal, Defendant does not waive any defense

that may be available to it and specifically reserves the right to assert any defenses and/or

objections to which it may be entitled.

                WHEREFORE, Defendant Amazon.com Services, LLC hereby removes the

above-captioned action now pending in the Superior Court of New Jersey, Law Division, Mercer

County, to the United States District Court for the District of New Jersey and requests that this

Court assume full jurisdiction over this cause of action as provided for by law.




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                                         s/Tara L. Humma
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                                         Attorneys for Defendant Amazon.com
                                         Services, LLC
 DATED: August 20, 2021




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                                CERTIFICATE OF SERVICE

               I, Tara L. Humma, hereby certify that on this date, I caused a true and correct

copy of the foregoing Notice of Removal to be served on counsel for Plaintiff via electronic mail

and via First Class Mail, postage prepaid, addressed as follows:

                                   Drake P. Bearden, Jr., Esq.
                                    Costello & Mains, LLC
                                 18000 Horizon Way, Suite 800
                                   Mount Laurel, NJ 08054
                                 dbearden@costellomains.com
                                     Attorneys for Plaintiff



 DATE: August 20, 2021                            s/Tara L. Humma
                                                  Tara L. Humma




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